            Case 1:18-cr-00457-AJT Document 354-2 Filed 07/23/19 Page 1 of 19 PageID# 4927
               Case l:18-cr-00457-AJT Document 321 Filed 07/16/19 Page 1 of 19 PagelD# 3485



                                 IN THE UNITED STATES DISTRICT COURT FOR THE
                                           EASTERN DISTRICT OF VIRGINIA


                                                   Alexandria Division


              UNITED STATES OF AMERICA
                                                                         No. l:18-CR-457


                                                                         The Honorable Anthony J. Trenga
              BIJAN RAFIEKIAN,
                      a/k/a "Bijan Kian'                                 Trial: July 15,2019


                      Defendant.




                                           GOVERNMENT'S TRIAL EXHIBITS



           Exhibit                                      Exhibit                                      Admitted
            No.


                     RESERVED

                     Photograph of Alptekin
       V
             2A      Email from Alptekin to Korkmaz, Subject cavusoglu, dated October 28,2016
             2B      Photograph of Cavusoglu and Alptekin
                     Attachment(Cost and revenue pro forma)to Email from Alptekin to Korkmaz,
                     Subject cavusoglu, dated October 28, 2016
       /
       \

                     RESERVED

                     Photograph of Gulen

       y             Photograph of Erdogan
                     RESERVED

                     RESERVED

             8A      Computer Screenshot of Email from Alptekin to Rafiekian, Subject: Re: All
                     good to go, dated July 27,2016

             8B      Email from Rafiekian to Alptekin, Subject: All good to go, dated July 27,2016
(b8)                 (2 pages)
                                                                                                     y Kl^ frond ^h/M
                     Case 1:18-cr-00457-AJT Document 354-2 Filed 07/23/19 Page 2 of 19 PageID# 4928
                       Case l:18-cr-00457-AJT Document 321 Filed 07/16/19 Page 2 of 19 PagelD# 3486




                            Email from Alptekin to Rafiekian, Subject: All good to go, dated July 29,2016
                 /         (2 pages)
                     9A     Photograph of Cavusoglu
                            Photograph of Cavusoglu
                 y   10     Email from Rafiekian to Alptekin, Subject: Truth, dated July 30,2016(2 pages)
 Hi6)
 I    »wmV- --


                     lOA    Email from Flynn to FIG, Subject: Re:Truth, dated July 30,2016
                     11     Email from Rafiekian to Alptekin, Subject: We are ready, dated August 2, 2016
                     12     Email from Flynn to Rafiekian, Subject: Re:Re: Truth, dated August 4,2016
1]£l
                     13     Email from Rafiekian to Alptekin, Subject: Re:Truth, dated August 4, 2016(4
                 /
(A)                         pages)

     m           >/ 14      Email from Alptekin to Flynn, Subject: Re:Truth, dated August 8,2016
                     14A    Email from Rafiekian to Alptekin, Subject: Re:Truth, dated August 8,2016
(1,0)
                 / 14B     Photograph of Yildirim
                 / 14C     Photograph of Nihat Zeybekci
                     15     Email from Rafiekian to Flynn, Subject: Re: Truth, dated August 4,2016
                                                                                                              y ift( i\I
 M) /                      (3 pages)
                                                                                                              ykEhjiif)
                     15A    The New York Times, Turkey's New Anti-Americanism, dated Aug.4,2016(3
                            pages)
                            Link (http://nyti.ms/2avkkES) on Email from Alptekin to Rafiekian, Subject: Re:
                            Truth, dated August 10, 2016
                     16    Email from Alptekin to Flynn & Rafiekian, Subiect: Re:Truth, dated August 10,
                           2016(6 pages)

                     17     Email from Rafiekian to Alptekin, Subject: Re: Welcome back!, dated August
                            11,2016(3 pages)

                     17A    Email from Alptekin to Rafiekian, Subject: Re: Welcome back!, dated August
     (b0)                   11,2016(2 pages)
                     18A    Email from Rafiekian to Flynn, Subject: Confidence through Clarity Campaign
     L1?8) v/               Operation Confidence, dated August 11, 2016(2 pages)

                     I8B    Confidence through Clarity Spreadsheet
                            Attachment(Cost and revenue pro forma)to Email from Rafiekian to Flynn,
ibi)                        Subject: Confidence through Clarity Campaign - Operation Confidence, dated
                            August 11, 2016

                     19    Email from Rafiekian to Alptekin, Subject: Action update, dated August 25,
                           2016
              Case 1:18-cr-00457-AJT Document 354-2 Filed 07/23/19 Page 3 of 19 PageID# 4929
                 Case l:18-cr-00457-AJT Document 321 Filed 07/16/19 Page 3 of 19 PagelD# 3487




               20     Skype Chat between Alptekin and Rafiekian, dated August 25,2016
          /           (2 pages)

              20A     Photograph of Turkish bridge
                                                                                                    y.iO(7liy)
               21     Skype Chats between Rafiekian and Alptekin, dated August 29,2016 to August
                      30,2016
 [{ft))                                                                                            y\Ck(7\lle)
              22A     Email from Rafiekian to Alptekin, Subject: Confidence, dated September 3,
(ue)                  2016


              22B     Independent Advisory Services Agreement(3 pages)
                      Attachment(Advisory Agreement BK MF)to Email from Rafiekian to Alptekin,      s/Gi'i
                      Subject: Confidence, dated September 3,2016                                  J VdCbnik Vie)
              23A     Email from Rafiekian to Flynn, Subject: Operation Confidence Playbook- For
                      BK and MF only, dated September 5,2016(2 pages)
(IU2)                                                                                                            rjHe)
              23B     Operation Confidence Playbook(6 pages)
                      Attachment(Playbook Operation Confidence BK)to Email from Rafiekian to
m)                    Flynn, Subject: Operation Confidence Playbook- For BK and MF only, dated
                      September 5,2016
                                                                                                   / frond.)!7<lu)
              24A     Email from Rafiekian to Flynn, Subject: NYC- September 19 or 20th, dated
                      September 6,2016

              24B     Email from Rafiekian to Flynn, Subject: Re: September 19 or 20th, dated
                      September 9,2016

              25A     Bank of America, Statement for September 1,2016 to September 30,2016 for
                      Account No. ending in 6215(6 pages)$200,000 wire
                                                                                                    yMiiy)
              25A-I   Bank of America,two affidavits and a Certification of the Records(5 pages)
              25B     Email from Rafiekian to Flynn, Subject: Wire to Ekim, dated September 12,
                      2016
                                                                                                   Jklkfcotdihll g)
              25C     Email from Rafiekian to Flynn, Subject: Advisory Agreement(General Scope)
                      for Ekim Alptekin, dated September 12,2016
                                                                                                                 jlh)
              25D     Independent Advisory Services Agreement(2 pages)
                      Attachment(Ekim Advisory Agreement BK 9122016.docx)to Email from
                      Rafiekian to Flynn, Subject: Advisory Agreement(General Scope)for Ekim
                      Alptekin, dated September 12,2016
                                                                                                   yK^           'lie)
             Case 1:18-cr-00457-AJT Document 354-2 Filed 07/23/19 Page 4 of 19 PageID# 4930
               Case l:18-cr-00457-AJT Document 321 Filed 07/16/19 Page 4 of 19 PagelD# 3488



            26A     Email from Rafiekian to Flynn, Subject: Talking Points, dated September 18,
                    2016


            26B     Backgound and Talking Points(4 pages)
                    Agreement(Backgound and Talking Points9192016.docx)to Email from
        -
                    Rafiekian to Flynn, Subject: Talking Points, dated September 18,2016

        / 28A       Photograph of Barak Albayrak
                                                                                                    Ao ii lb)
            28B     U.S. Customs and Border Protection, TECS - Person Encounter List on
                    Alptekin, Kamil start and end date range 09/01/2015 -09/01/2017
                    (3 pages)

            28B-1   Certificate of Authenicity, dated June 26,2019(2 pages)
                    On U.S. Customs and Border Protection, TECS- Person Encounter List on
                    Alptekin, Kamil start and end date range 09/01/2015 -09/01/2017

             29     Email from Rafiekian to Flynn, Subject Confidence, dated September 21,2016
            30A     Email from Boston to Miller and Rafiekian, Subject: Congressional Outreach,
                    dared Octover 11,2016
[1^}                                                                                                yKlC('Mhcl)(i
            30B     Email from Miller to Boston, Subject: mid-week update, dated October 12,2016
                    (2 pages)
                                                                                                    yQiM(l(n)
{\Jh)               Email from Rafiekian to Alptekin, Subject: Invoice, dated October 7,2016
            33A
                                                                                                    yk^fcond-)/': /lu)
            33B     FIG Invoice, dated October 7,2016, Total Invoice Amount $200,000
                    Attachment(Invoice second payment 1072016)to Email from Rafiekian to
{[&)                Alptekin, Subject: Invoice, dated October 7,2016
                                                                                                                     11^)
            33C     Email from Rafiekian to Employee of Company A,Subject: Wire Transfer to
[\^)                Inovo BV,dated October 11,2016

             34     Bank of America Statement, FIG Account No.ending in 6215,for October 1,
                    2016 to October 31,2016(8 pages)
        /           (October 11,2016- Alptekin caused $185,000 to be wire transferred from a
                    Turkish bank account in Alptekin's name to Company A's U.S. bank account.)

            35A     Email from Refiekian to Flynn and Alptekin, Subject: Fwd:Inivo, dated October
i«i)                14, 2016
                                                                                                    JMcood))-'
            35B     Inovo Invoice, FIG,total $40,000, Invoice dated Octover 14, 2016
                    Attachment(imagel.png)to Email from Refiekian to Flynn and Alptekin,
                    Subject: Fwd:Inivo, dated October 14, 2016
                                                                                                    ■y\A^(cDrd)('' |i(^)
             36     RESERVED




                                                            4
               Case 1:18-cr-00457-AJT Document 354-2 Filed 07/23/19 Page 5 of 19 PageID# 4931
                 Case l:18-cr-00457-AJT Document 321 Filed 07/16/19 Page 5 of 19 PagelD# 3489



               37A   Email from Rafiekian to Alptekin, Subject: Invoie, dated November 10,2016
  f ^2.
               37B   FIG Invoice, Total Involve Amount $200,000, Dated November 10,2016
                     Attachment(Invoice third payment 11102016.pdf)to Email from Rafiekian to
  m)                 Alptekin, Subject: Invoie, dated November 10,2016
                                                                                                     Ji^l(cor\d.](7 l(<?)
               38    Bank of America Statement, FIG Account No. ending in 6215,for November I,
                     2016 to November 30, 2016(8 pages)
                     (November 14,2016- Alptekin caused $145,000 to be wire transferred from a
           /         Turkish bank account in Alptekin's name to Company A's U.S. bank account.)

               39    RESERVED

               40    Text Message from Flynn to Project Team including Alptekin, dated October 22,
                     2016
           /                                                                                         Jm (6b\)fi)b)
               41    Skype Chats between Rafiekian and Alptekin, dated September 14,2016 to
                     September 15,2016
                                                                                                                    %)
           ^   42
         Jvd         Handwritten Notes, Weekly conference call(5 pages)
               43A   Email from Boston to Rafiekian, Subject: Talking Points for Get 14, dated
(1(^2^                October 13, 2016

               43B   FIG Project Confidence Talking Points, October 14,2016(16 pages)
                     Attachment(Talking Points 10142016.docx)to Email from Boston to Rafiekian,
                     Subject: Talking Points for Oct 14, dated October 13,2016
(M                                                                                                   vAh frond)
               43C   Gulenopoly Board
                     Attachment(Gulenopoly Board(l).pdf)to Email from Boston to Rafiekian,
11^2)                Subject: Talking Points for Oct 14, dated October 13,2016

               43D   Politico tipsheet, retrieved Oct 13,2016
                     Attachment(Politico.pptx) to Email from Boston to Rafiekian, Subject: Talking
(ite)                Points for Oct 14, dated October 13, 2016
                                                                                                     Ah fcnn^)
               43E    Gulenopoly Citations(2 pages)
                     Attachment(Gulenopoly Citations(l).docx)to Email from Boston to Rafiekian,
(llol)               Subject: Talking Points for Oct 14, dated October 13, 2016
                                                                                                     Ai\l(cond)
               43F    First Draft- Gulen Briefing Sheet(2 pages)
                      Attachment(Gulen Briefing Sheet(l).docx) to Email from Boston to Rafiekian,
(11^2)                Subject: Talking Points for Oct 14, dated October 13, 2016
                                                                                                     y (cnrd.)
               44    RESERVED

               45A   Email from Rafiekian to Alptekin and Kelley, Subject: Getting Turkey Wrong,
 (iw|                 dated November 2,2016                                                           yxNfcofvl.)
            Case 1:18-cr-00457-AJT Document 354-2 Filed 07/23/19 Page 6 of 19 PageID# 4932
              Case l:18-cr-00457-AJT Document 321 Filed 07/16/19 Page 6 of 19 PagelD# 3490




            45B   Getting Turkey Wrong(6 pages)
                  Attachment(GETTING TURKEY WRONG.docx)to Email from Rafiekian to
(Iw)              Alptekin and Kelley, Subject: Getting Turkey Wrong, dated November 2,2016

            46    RESERVED

            47    Email from Rafiekian to Flynn, Subject: Re: Tim Kaine congratulates Gulenists
                  in a letter - Ragip Soylu - Daily Sabah, dated November 3,2016
m)                (2 pages)

            48A   Email from Rafiekian to Alptekin, Subject: Update, dated November 4,2016(2
(IW)              pages)
                                                                                                   •Jcji Icor^ )
            48B   Our Ally Turkey Is in Crisis and Needs Our Support(4 pages)
                  Attachment(TurkeyMTFl 132016.pdf)to Email from Rafiekian to Alptekin,
(iW)              Subject: Update, dated November 4,2016

            49
 \fb)             Email from Alptekin to Rafiekian, Subject: Re: Update, dated November 5, 2016
            50    The Hill j Our ally Turkey is in crisis and needs our support, by Flynn, dated
                  November 8,2016(4 pages)

            51    RESERVED

            52    RESERVED

            53    RESERVED

            54    RESERVED

            55    RESERVED

            56    Registration Statement(Received by NSD/FARA Registration Unit 03/07/2017
                  6:02:45 PM)Registrant: Flynn Intel Group, Inc., Registration No,6406(7
        /         pages)

            57    RESERVED

            58    Exhibit A and Exhibit B to Registration Statement and signed Independent
                  Advisory Services Agreement dated 8/9/2016(Received by NSD/FARA
        /         Registration Unit 03/07/2017 6:02:45 PM)Registrant: Flynn Intel Group, Inc.,
                  Registration No.6406(8 pages)

            59    RESERVED

            60    RESERVED

            61    Supplemental Statement(Received by NSD/FARA Registration Unit 03/07/2017
        /         6:02:45 PM)Name of Registrant: Flynn Intel Group, Inc., Registration No.6406
                  (13 pages)
              Case 1:18-cr-00457-AJT Document 354-2 Filed 07/23/19 Page 7 of 19 PageID# 4933
                Case l:18-cr-00457-AJT Document 321 Filed 07/16/19 Page 7 of 19 PagelD# 3491




              62    RESERVED

              63    RESERVED

              64    Short Form Registration Statement(Received by NSD/FARA Registration Unit
                    03/07/2017 6:02:45 PM)Name: Lt. Gen Michael T. Flynn (Ret.), Registration
                    No.6406(3 pages)

              65    Short Form Registration Statement,(Received by NSD/FARA Registration Unit
                    03/07/2017 6:02:45 PM)Name: Bijan Raflekian, Registration No.6406(3
                     pages)

              66    Flynn Intel Group, Inc., State of Delaware Certificate of Incorporation a Stock
                    Corporation (Received by NSD/FARA Registration Unit 03/07/2017 6:02:45
          y
                    PM)(18 pages)

              67    Skype Chats from July 26, 2016 through September 30,2016
                                                                                                      i/jkiijikl
              67A   Skype Chat from Alptekin to Rafiekian, dated July 31, 2016

              67B   Skype Chat between Rafiekian and Alptekin, dated August 13,2016 to August
                     14,2016
                                                                                                               jlif)
              67C   Skype Chat between Alptekin and Rafiekian, dated August 14,2016
 111/^)                                                                                                        iIIip)
              67D   Skype Chat between Alptekin and Rafiekian, dated August 16,2016 to August
(H«^)                17,2016

              67E   Skype Chat between Alptekin and Rafiekian, dated August 25, 2016 to August
                    26,2016 (2 pages)
                                                                                                                   tIM
                    Skype Chat from Alptekin to Rafiekian, dated August 27,2016
'(Ti^         67F


              67G   Skype Chat from Alptekin to Rafiekian, dated August 28,2016
Tm)
              67H   Skype Chat between Rafiekian and Alptekin, dated September 1, 2016 to
                    September 2,2016
(11;^)                                                                                                              /I?)
              671   Skype Chat between Alptekin and Rafiekian, dated September 4,2016
(iw)                                                                                                               iN
              67J   Skype Chat between Alptekin and Rafiekian, dated September 8,2016
                                                                                                                   ijik)
                    Skype Chat from Alptekin to Rafiekian, dated September 9, 2016
ji^           67K


              67L   Skype Chat between Alptekin and Rafiekian, dated September 9, 2016
:"iiX
       Case 1:18-cr-00457-AJT Document 354-2 Filed 07/23/19 Page 8 of 19 PageID# 4934
         Case l:18-cr-00457-AJT Document 321 Filed 07/16/19 Page 8 of 19 PagelD# 3492



       67M   Skype Chat from Alptekin to Rafiekian, dated September 9, 2016
       67N   Skype Chat between Alptekin and Rafiekian, dated September 9,2016
JML                                                                                          JkkfrDni.V^/lif)
       670   Skype Chat between Rafiekian and Alptekin, dated September 9, 2016
(Ml          (2 pages)

       67P    Skype Chat between Rafiekian and Alptekin, dated September 11, 2016
                                                                                             AUmiMJf)
mJ
       67Q    Skype Chat between Alptekin and Rafiekian, dated September 12,2016
7^1
       67R    Skype Chat between Rafiekian and Alptekin, dated September 13,2016 to
(iw)          September 14,2016
                                                                                             \/kl^(C0Ki}/7ll(e)
       67S    Skype Chat from Alptekin to Rafiekian, dated September 15,2016
(m)          (3 pages)
                                                                                             7ktefc6tti.)(" l(«)
       67T    Skype Chat between Alptekin and Rafiekian, dated September 28,2016 to
              September 29,2016

       68     Chart of Emails Located by FBI Information Technology Specialist Kim T.
              Rosecrans(2 pages)
                                                                                             7
       69A    Certificate of Authenticity - Google, dated June 24,2017
       69B    Certificate of Authenticity - Google, dated June 24,2017
       69C    Certificate of Authenticity - Google, dated June 24,2017
       70A    Email from Rafiekian to Flynn, Subject: Turkey, dated November 3, 2016
m)
       70B    Our Ally Turkey Is In Crisis and Needs Our Support(4 pages)
              Attachment(TurkeyMTFl 132016.pdf)to Email from Rafiekian to Flynn,
im)           Subject: Turkey, dated November 3,2016
                                                                                              Jsiilmd-)
       71     Email from Rafiekian to Flynn, Subject: Document, dated November 3,2016
fW)
       72     Email from Flynn to FIG, Boston, Rafiekian, Subject RE: Working papaers for
              your review, dated November 5, 2016
                                                                                             Tktictiodkiiik)
       73A    Email from Rafiekian to Alptekin, Subject: Working Papers, dated November 5,
              2016


       73B    Road Map and Working Paper(8 pages)
              Attachment(roadmapl 152016MBbkmf.pdf and Working paper
              1152016mbbkmf.3.pdf)to Email from Rafiekian to Alptekin, Subject: Working
              Papers, dated November 5,2016
                                                                                             x/k£{cExiAii|i»)
             Case 1:18-cr-00457-AJT Document 354-2 Filed 07/23/19 Page 9 of 19 PageID# 4935
               Case l:18-cr-00457-AJT Document 321 Filed 07/16/19 Page 9 of 19 PagelD# 3493



             73C   Gulenopoly Board
                   Attachment(Gulenopoly)to Email from Raflekian to Alptekin, Subject:
(Is©               Working Papers, dated November 5,2016

             74    Email from Boston to Rafiekian, Subject: Comments on the document layout,
                                                                                                     Ai^
                   dated November 5,2016
             75    Email from Rafiekian to Flynn and Boston, Subject: Working paper for your
                   review, dated November 5, 2016
iiuii
             76A   Email from Flynn to Rafiekian and FIG, Subject: Re: Financial Records, dated
                   November 6,2016
m)                                                                                                                  1.^
             76B   Turkey: A Friend in Need is a Friend Indeed (5 pages)
                   Attachment(Turkey Article.docx)to Email from Flynn to Rafiekian and FIG,
                   Subject: Re: Financial Records, dated November 6,2016

             77    Email from Alptekin to Flynn, Subject Re: Re-sending, dated November 7, 2016
                                                                                                     Jhdlotiivi]! IN
             78A   Email from Rafiekian to Alptekin, Subject: Assessment Report, dated November
                   7,2016(2 pages)

             78B   Fethullah Gulen: A Primer for Investigators, dated November 2,2016(70 pages)
                                                                                                     Jk^lcDindkl/Ila)
                   Attachment(Ongoinginvestigationgulenbkmf.pdf)to Email from Rafiekian to
(b0)               Alptekin, Subject: Assessment Report, dated November 7,2016
                                                                                                                    (s)
             79A   Email from Kian to Miller, Subject: Article, dated November 7,2016

             79B   Attachment(TurkeyMTFl 132016.pdf and .docx)to Email from Kian to Miller,
         /         Subject: Article, dated November 7,2016(8 pages)

             80    Email from Miller to Rafiekian, Subject: Article placement, dated November 8,
11/2')             2016


             81    Email from Miller to Boston, Subject: Re: Article placement, dated November 8,
                   2016


             82    Email from Boston to Rafiekian, Subject: Update, dated November 11, 2016
(                                                                                                    v/|(ieM)27/i
             83    Email from Rafiekian to Alptekin, Subject: Recommended Statement by Sphere,
                   dated November 11. 2016 (2 pages)
                                                                                                     J^tltorA)h (fc)
             84    Email from Flynn to Rafiekian, Subject: Politico: Trump advisor Flynn linked to
                   Turkish lobbying, dated November 15, 2016
                   (4 pages)
                                                                                                                    f/fc)
              Case 1:18-cr-00457-AJT Document 354-2 Filed 07/23/19 Page 10 of 19 PageID# 4936
                Case l:18-cr-00457-AJT Document 321 Filed 07/16/19 Page 10 of 19 PagelD# 3494



               85    Email from Flynn to Rafiekian, Subject: Politico: Trump advisor Flynn linked to
 IW)                 Turkish lobbying, November 15, 2016(6 pages)

               86    Email from Courtovich to Miller, Wyatt and Lowman,Subject:(no subject),
                                                                                                       Zsjl(£DQi)'7|lu)
                     dated November 15, 2016

               87    Email from Kian to Flynn, Subject: Politico: Trump advisor Flynn linked to
                     Turkish lobbying, dated November 15, 2016(5 pages)
                                                                                                                    rllu)
              88A    Email from Kian to Flynn, Subject: Engagement with INOVO,dated November
(lb?)                17,2016
                                                                                                       Js^ fCDndi-(7|lb)
              88B    Independent Advisory Services Agreement, dated 08/09/2016(3 pages)
                     Attachment(Advisory Agreement FIG INOVO-signed.pdf)to Email from Kian
  In 2)              to Flynn, Subject: Engagement with INOVO,dated November 17,2016

               89    Email from Burck to Kelley, Subject: Statement of Flynn Intel Group, dated
                                                                                                       ySbl (Ciind)f'r|lb)
                     November 19,2016(2 pages)
                                                                                                       yk^/condJh It?)
               90    Letter to Flynn from Flunt, Re: Possible Obligation to Register Under the
                     Foreign Agents Registeration Act, dated November 30, 2016,(3 pages)

               91    Mail -Zulu 101 O@hotmail.com tneer Mccaudley, printed 5/23/2017
               92    Covington Letter, to Hunt from Kelner, Re: Flynn Intel Group, Inc., dated
          /          January 11, 2017

              93A    Email from Alptekin to Rafiekian, Subject: Fwd: Time sensitive- Ekim
                     Alptekin- engagement letter(3 pages)

              93B    Arent Fox Letter, Re: Advice on Regulations for the Foreign Economic
                     Relations Board of Turkey, dated January 18,2017(15 pages)

               94    Ratio Letter, Dated February 12, 2017, to Ekim Alptekin, Re: Termination
                                                                                                       JkX/cMMj')
                     Notice of Service Agreement

              94A    Inovo, Ratio Oil Exploration LP,$5,000, Invoice No.00046, March 2016,
                     dated April 22,2016

              94B    Inovo, Ratio Oil Exploration LP,$5,000, Invoice No. 00047, April 2016,
                     dated April 22, 2016

              94C    Inovo, Ratio Oil Exploration LP,$5,000, Invoice No.00048, May 2016,
                     dated May 30, 2016

              94D    Inovo, Ratio Oil Exploration LP,$5,000, Invoice No.00049, June 2016,



                                                             10
Case 1:18-cr-00457-AJT Document 354-2 Filed 07/23/19 Page 11 of 19 PageID# 4937
  Case l:18-cr-00457-AJT Document 321 Filed 07/16/19 Page 11 of 19 PagelD# 3495



       dated July 4, 2016

94E    Inovo, Ratio Oil Exploration LP,$5,000, Invoice No.00050, July 2016,
       dated July 25,2016

94F    Inovo, Ratio Oil Exploration LP,$5,000, Invoice No.00051, August 2016,
       dated August 25, 2016

94G    Inovo, Ratio Oil Exploration LP,$5,000, Invoice No.00046, March 2016,
       dated April 22, 2016

94H    Inovo, Ratio Oil Exploration LP,$5,000, Invoice No.00046, March 2016,
       dated April 22,2016

941    Inovo, Ratio Oil Exploration LP,$5,000, Invoice No.00046, March 2016,
       dated April 22,2016

94J    Inovo, Ratio Oil Exploration LP,$5,000, Invoice No.00046, March 2016,
       dated April 22, 2016

94K    Inovo, Ratio Oil Exploration LP,$5,000, Invoice No.00046, March 2016,
       dated April 22,2016

 95    Email from Courtovich to Kian, Subject: Re: Reaching Out, dated August 13,
       2016
                                                                                                  7ili,)
96A    Email from Miller to Courtovich, Subject: Following up on Tuesday's Meeting,
       dated August 18, 2016

96B    Sphere Letter to Flynn and Rafiekian from Courtovich, Re: Partnership to
       Promote a Prospeprous and Stable Turkey, dated August 18,2016(4 pages)
       Attachment(attachment-1)to Email from Miller to Courtovich, Subject:
       Following up on Tuesday's Meeting, dated August 18,2016
                                                                                      \/lCt^fcmdhjlb)
 97    Email from Miller to Courtovich, Subject: Re: Following up on Tuesday's
       Meeting, dated August 20,2016

 98    Email from Miller to Courtovich dated. Subject Hello, Dated August 29,2016
       (7 pages)

 99    Email from Kian to Flynn, Subject Re: Advisory Agreement(General Scope)for
       Ekim Alptekin, dated September 12,2016(3 pages)
                                                                                                 7|/l/)
lOOA   Email from Kian to Flynn, Subject: Revised Ekim Agreement, dated September
       12,2016
                                                                                                    ill,)

                                              11
        Case 1:18-cr-00457-AJT Document 354-2 Filed 07/23/19 Page 12 of 19 PageID# 4938
          Case l:18-cr-00457-AJT Document 321 Filed 07/16/19 Page 12 of 19 PagelD# 3496



        lOOB     Independent Advisory Services Agreement(2 pages)
                 Attachment(Ekim Advisory Agreement revlBK 9122016.docx)to Email from
                 Kian to Flynn, Subject: Revised Ekim Agreement, dated September 12,2016
                                                                                                  Ai^ffpnd'
        lOlA     Email from Swiercz to Yudis, Subject: Turkey Brief, dated September 13,2016

        lOlB     Turkey Client: FLin Intel document, dated 09/13/2016(2 pages)
                 Attachment(Turkey Client.docx) to Email from Swiercz to Yudis, Subject:
                 Turkey Brief, dated September 13,2016

        102      Email from Ahn to Pilgram, Mccaurley, and Flynn, dated September 16, 2016
                                                                                                               f^lW)
        103A     Email from Kian to Alptekin, Subject: Talking Points, dated September 16, 2016
                                                                                                  J'm(coniyp
        103B     Backgrount and Talking Points(4 pages)
                 Attachment(Background and Talking Points91...tdf) to Email from Kian to
                 Alptekin, Subject: Talking Points, dated September 16,2016

        104A     Email from Flynn to Kian, Subject Re: Talking Points, dated September 18,
(Ib2)          \
                ^016

        104B     Backgrount and Talking Points(4 pages)
(Ibz)           Attachment(Background and Talking Points9192016.docx)to Email from Flynn
                 to Kian, Subject Re: Talking Points, dated September 18,2016
                                                                                                  s/sti(coM
        105      Email from Miller to Kian, Subject: Tomorrow, dated September 19,2016
m)                                                                                                y|o?fcod.)(-rll(.)
        106      Email from Pilgram to Kian, Subject: Morning Update 9/20, dated September
                 20,2016
                                                                                                               illl')
        107A     Email from Miller to Kian, Subject: Tomorrow, dated September 21,2016(2
(iw)             pages)
                                                                                                               iiu)
        107B     Memorandum of Understanding(2 pages)
                 Attachment(attachment-l.pdf) to Email from Miller to Kian, Subject:
(IkZ)            Tomorrow, dated September 21,2016

         108     Email from Alptekin to Kian, Subject: Comm Check, dated September 26, 2016
w        109     Sphere Letter to Miller from Kelley and Looney, RE: Charter Schools Database,
                 dated October 3,2016(2 pages)

        llOA    Email from Kian to Boston, Subject: Project Confidence, dated October 4, 2016
11^2)           (2 pages)

        HOB      Independent Advisory Services Agreement(2 pages)                                      fad J)?!lie)
                                                        12
           Case 1:18-cr-00457-AJT Document 354-2 Filed 07/23/19 Page 13 of 19 PageID# 4939
             Case l:18-cr-00457-AJT Document 321 Filed 07/16/19 Page 13 of 19 PagelD# 3497



                  Attachment(Independent Contractor Agreement.docx)to Email from Kian to
                  Boston, Subject: Project Confidence, dated October 4, 2016

           HOC    Sensitive Information Non-Disclosure Agreement(2 pages)
|ba)              Attachment(Sensitive Information Non.docx)to Email from Kian to Boston,
                  Subject: Project Confidence, dated October 4,2016                               JsAinvdt'.
           111    Sphere Letter to FIG from Miller, RE: Engagement Strategy and Activities,
                  dated October 5, 2016(3 pages)

            112   Email from Boston to Kian, Subject: Use of Inovo's Name,dated October 9,
                                                                                                 AiloondOtjim
                  2016
                                                                                                 \/ki^frond)(7//(g)
           113    Email from Flynn to Kian, Subject Wire Transfer to Inovo BV,dated October
(1^)              13,2016

           114    Email from Boston to Graham, dated October 13, 2016
                                                                                                 y muln)
           115    Email from Kian to Flynn, Subject: Update- Confidence, October 13,2016
           116A   Email from Kian to Alptekin, dated October 14,2016
           116B   Maanopoly Board
                  Attachment(Maanopoly 5-3[1].compressed (l)(l)(l).pdf) to Email from Kian to
(li'?')           Alptekin, dated October 14, 2016

           117    Message with number ending in 2256, dated October 14, 2016
          /WiK    Email from Flynn to Kian, Subject: Inivo, dated October 15, 2016
                                                                                                       (COnd-^(illu)
           118B   Inovo Invoice, dated October 14, 2016
                  Attachment(imagel.png)to Email from Flynn to Kian, Subject: Inivo, dated
                  October 15, 2016
                                                                                                                7|lb)
           119A   Email from Kian to Alptekin, Subject: Updates, dated October 21, 2016
           119B   Gulenopoly Board
                                                                                                 iMcffioilllfl!'')
                  Attachment(10212016Gulenopoly (l).pdf) to Email from Kian to Alptekin,
m                 Subject: Updates, dated October 21, 2016

           119C   Mula Mullah Board
                  Attachment(10212016Mula Mullah Board.pdf)to Email from Kian to Alptekin,
                  Subject: Updates, dated October 21, 2016

           120    Email from Boston to Alptekin, Subject: Update Call with Ekim, dated October
                  21,2016
                                                                                                 /to(CQtrihl U)
           121    Email from bmccauley to Kian, Subject: Update Call with Ekim, dated October
                  21,2016




                                                          13
         Case 1:18-cr-00457-AJT Document 354-2 Filed 07/23/19 Page 14 of 19 PageID# 4940
           Case l:18-cr-00457-AJT Document 321 Filed 07/16/19 Page 14 of 19 PagelD# 3498



         122A   Email from Boston to Flynn, Subject: Weekly Conference Call Notes, dated
 1{£i2          October 22,2016(3 pages)
                                                                                                           7|M
         122B   Conference Call Notes(4 pages)
                Attachment(Conference Call notes.docx)to Email from Boston to Flynn,
iU)             Subject: Weekly Conference Call Notes, dated October 22, 2016

         122C   Gulen Briefing Sheet(4 pages)
                                                                                                Jcd{c<^rA\im
                Attachment(Gulen Briefing Sheet_2016.10.23.docx.tdf)to Email from Boston
(ll;^)          to Flynn, Subject: Weekly Conference Call Notes, dated October 22,2016

         122D   Briefing on Gulen Related Charter Schools in Texas, Draft October 19,2016(2
                pages)
(IW)            Attachment(Texas One Page.docx)to Email from Boston to Flynn, Subject:
                Weekly Conference Call Notes, dated October 22,2016

         122E   Sphere Letter to FIG from Sphere Consulting, Re: Charter Schools and the
                Department of Education, dated October 18,2016(3 pages)
                Attachment(Charter Schools and DofEd.docx)to Email from Boston to Flynn,
(luz)           Subject: Weekly Conference Call Notes, dated October 22, 2016
                                                                                                J CKfcoird)i\h]
         122F   Mula Mullah Board
                Attachment(Mula Mullah Board.pdf)to Email from Boston to Flynn, Subject:
 (M)            Weekly Conference Call Notes, dated October 22, 2016

         122G   Gulenopoly Board
                Attachment(Glenopoly.pdf)to Email from Boston to Flynn, Subject: Weekly
                Conference Call Notes, dated October 22,2016

         122H   Sphere Letter to FIG from Sphere Consulting, Re: Charter Schools and the IRS,
                dated October 18, 2016(2 pages)
                Attachment(Charter Schools and IRS.DOCX)to Email from Boston to Flynn,
(iw)            Subject: Weekly Conference Call Notes, dated October 22, 2016

         1221   20 October 2016 Update powerpoint(9 pages)
                Attachment(20Octl6Update.pptx.pptx)to Email from Boston to Flynn, Subject:
(ll/l)          Weekly Conference Call Notes, dated October 22, 2016
                                                                                                           tN
         122J   Image
                Attachment(horizon overview(l).png)to Email from Boston to Flynn, Subject:
(lu)            Weekly Conference Call Notes, dated October 22, 2016

         123A   Email from Kian to Flynn, Subject: Ekim's advisory agreement, dated October
                22,2016
(11^2)
                                                                                                y ^Sl^fcond-If

                                                       14
    Case 1:18-cr-00457-AJT Document 354-2 Filed 07/23/19 Page 15 of 19 PageID# 4941
      Case l:18-cr-00457-AJT Document 321 Filed 07/16/19 Page 15 of 19 PagelD# 3499



    123B   Independent Advisory Services Agreement(2 pages)
           Attachment(Ekim Advisory Agreement rev3BK 109122016.docx)to Email
           from Kian to Flynn, Subject: Ekim's advisory agreement, dated October 22,
           2016
                                                                                             J      /rotYi'
    124A   Email from Boston to Kian, Subject: Sphere Plan, October 28,2016
                                                                                                              7)11?)
    124B   Sphere Letter to FIG from Miller, Re: Engagement Strategy and Activities, dated
           October 5, 2016(3 pages)
           Attachment(attachment-l.docx) to Email from Boston to Kian, Subject: Sphere
           Plan, October 28,2016
                                                                                             \/3v\)cOl^d.)ijlle)
    125    Email from Kian to Alptekin, Subject: Conference on Monday, dated October
           28,2016

    126    Email from Alptekin to Kian, Subject: RE: Conference on Monday, dated
           October 19,2016

    127A   Email from Flynn to Rafiekian, Subject: Ekim's advisory agreement, dated
                                                                                                          7,
                                                                                                              h)
           October 30,2016
                                                                                                              ijlle)
    127B   Independent Advisory Services Agreement, dated September 9,2016(2 pages)
           Attachment(Confidence Project.tdf) to Email from Flynn to Rafiekian, Subject:
           Ekim's advisory agreement, dated October 30,2016
                                                                                                          '7|lli)
    128A   Email from Boston to McCauley, Subject: Project Meeting Wednesday at noon
           our office suite, dated October 31,2016

    128B   Restoring Confidence, Project Update(4 pages)
           Attachment(FIG Presentation_GM.PPTX)to Email from Boston to McCauley,
           Subject: Project Meeting Wednesday at noon our office suite, dated October 31,
           2016
    128C   Gulenopoly Board
           Attachment(Gulenopoly_OCT31.pdf)to Email from Boston to McCauley,
           Subject: Project Meeting Wednesday at noon our office suite, dated October 31,
           2016
    129    Letter to FIG from Courtovich, Re: 1782 Discovery Process, dated November
           08,2016(2 pages)
/          Attachment(1782 Discovery Process.docx)to email Graham Miller to Jim
                                                                                             /Jt
           Courtovich, dated March 27,2019, Re: Follow-Up

    130    Email from Pilgram to Rafiekian, Subject: Moming Update 9/7, dated
           September 7,2016

    131    Email from Flynn to Pilgrim, Subject: Sept 19 NYC,dated September 12,2016
                                                                                             J\(^(Cond.)(\lN
                                                     15
               Case 1:18-cr-00457-AJT Document 354-2 Filed 07/23/19 Page 16 of 19 PageID# 4942
                 Case l:18-cr-00457-AJT Document 321 Filed 07/16/19 Page 16 of 19 PagelD# 3500



                132   Email from Rafiekian to Flynn, Subject: Sept 19 NYC,dated September 12,
 ills2)               2016
                                                                                                                    7|M
                133   Email from Rafiekian to Pilgram, Subject: HIGH LEVEL Meeting, dated
( lll'l)              September 12, 2016

                134   Email from Rafiekian to Flynn, Subject: High Level Meeting in New York,
                      dated September 12, 2016
(iVi)                                                                                                  yM (roifY\:^(7lM
               135A   Email from Rafiekian to McCauley, Subject: Open Source information to kick
                                                                                                       x/HBhln)
(M /                  off the investigative process, dated September 23, 2016

               135B   Open Source Information - Project Confidence, dated 7/30/16(2 pages)

(lyi) y               Attachment to Email from Rafiekian to McCauley, Subject: Open Source
                      information to kick off the investigative process, dated September 23,2016
                                                                                                       /MBhln)
                                                                                                       ysfi(CDrxi
                136   Email from Cinar to Boston, Subject Re: Question, dated October 11,2016
JJkll                                                                                                  ./^fcpnd" 7111')
                137   Email from Rafiekian to Flynn, Subject: Meeting with Jim Courtovich, dated
                      August 14,2016
(ub)
                138   Email from Rafiekian to Alptekin, Subject: Comm Check, dated September 27,
                      2016


                139   Email from Boston to Rafiekian, Subject: Comments on the document layout,
                      dated November 5,2016(6 pages)

                140   Email from Miller to Courtovich, Subject: Re: Turkey - FARA v LDV,dated
                                                                                                       jmm
                      September 13, 2016(2 pages)
                                                                                                       /JC
               141A   YouTube Video Clip (1:38:00- 1:48:00)

               141B   Transcript of YouTube Video Clip(1:38:00- 1:48:00)

                142   Email from T. Neer to McCauley, Subject: Proposed Open Source Work Re:
           /          Gulen School, dated October 7, 2016(2 pages)
                                                                                                        AKlh|nl
                143   Statement, Elliott Investigative Services to Inovo BV,dated June 17,2016(6
                      pages)

                144   Email from Alptekin to Elliot, Subject: for your review, dated November 1,2016
                                                                                                       xZllhln).
                145   Alptekin Skype file Handwritten notes, dated October 13,2016

               146A   Email from Neer to Mccauley, Subject: Status, dated October 20,2016
                                                                                                       yTKl(i(n)

                                                              16
     Case 1:18-cr-00457-AJT Document 354-2 Filed 07/23/19 Page 17 of 19 PageID# 4943
        Case l:18-cr-00457-AJT Document 321 Filed 07/16/19 Page 17 of 19 PagelD# 3501



     146B     Attachment(Letter.to Brian.docx) Email from Near to Mccauley, Subject:
/             Status, dated October 20,2016

      147     Registration Statement(Received by NSD/FARA Registration Unit 10/26/2015
                                                                                             \/tK1(-;| n)
              9:38:44 AM)Registrant: Amsterdam & Partners, LLC, Registration No.6325
              (6 pages)

      148     Exhibit A and Exhibit B to Registration Statement (Received by NSD/FARA
/■            Registration Unit 10/26/2015 9:38:49 AM) Registrant: Amsterdam & Partners,
              LLP, Registration No. 6325 (7 pages)

      149     Short Form Registration Statement (Received by NSD/FARA Registration Unit
              10/26/2015 9:38:51 AM) Registrant: Robert R. Amsterdam, Registration No.
              6325 (2 pages)

     IJOA     Dutch MLAT Request including Account Statement, date range June 20,2016 to
/             April 30, 2018 (33 pages)

     JJOA-I   Certificate of Authenticity of Business Recnrd<;
                                  nticity OT                   for ABN
                                                      Kecnrm rnr   akn AMRO bank records


     ISIA
                  nSp(.c4iDn
              Email
                 il from Flynn
                                 »-(                       m^o B.v
                         Flvni to Rafiekian, Subject: Scanned Doc, dated September 8, 2016
                                                                                              /(.ifSd/n)!
     151B     Independent Advisory Services Agreement (3 pages)
              Attachment (B Project Confidence l.pdf) to Email from Flynn to Rafiekian,
/
              Subject: Scanned Doc, dated September 8, 2016
                                                                                             \/Kk(i lit/)
/ 152         Email from Alptekin to Elliot, Subject: info, dated October 16,2016
      153     Registration Statement / 0MB Control No. 1124-0001 / Form NSD-1 (7 pages)

      154     Supplemental Statement / 0MB Control No. 1124-0002 / Form NSD-2
              (10 pages)

      155     Amendment to Registration Statement / 0MB Control No. 1124-0003 / Form
              NSD-5 (2 pages)

      156     Exhibit B / 0MB Control No. 1124-0004 / Form NSD-4 (2 pages)

      157     Short-Form Registration Statement / 0MB Control No. 1124-0005 / Form
              NSD-6 (2 pages)

      158     Exhibit A / 0MB Control No. 1124-0006 / Form NSD-3


      159     Statute - Foreign Agents Registration Act of 1938, as amended (12 pages)

      160     Regulations - Part 5 - Administration and Enforcement of Foreign Agents
              Registration Act of 1938, as amended (12 pages)


                                                      17
             Case 1:18-cr-00457-AJT Document 354-2 Filed 07/23/19 Page 18 of 19 PageID# 4944
               Case l:18-cr-00457-AJT Document 321 Filed 07/16/19 Page 18 of 19 PagelD# 3502




              161       Inovo, Flynn Intel Group, $55,000, Invoice No. 00057, November 2016,
                        Dated on or before November 25, 2016
(1^6)                                                                                                   yMcondMiy
              162       Chart FIG EDVA Exhibits
                                                                                                                 IhX
        /■    163       Chart Skype_Chats



                                                                                                                       f
                                                                 Respectfully submitted,

                                                                 G. ZACHARY TERWILLIGER                 / (I/I'd)
                                                                 UNITED STATES ATTORNEY
                                                                                                        /
                                                                                                               (7/18)
                                                                                                        \/
                            /s/                            By:                 /s/                              (7(16)
                Evan N. Turgeon Trial Attorney                   John T. Gibbs
                Counterintelligence                              Virginia Bar No. 40380
                and Export Control Section National              James P. Gillis
                Security Division                                Virginia Bar No. 65055
                United States Department of Justice 950          Assistant United States Attorneys
                Pennsylvania Avenue, NW Washington,              The Justin W. Williams
                DC 20530                                              United States Attorney's Office
                (202) 353-0176                                   2100 Jamieson Avenue
                    Evan.Turgcon@usdoi.gov                       Alexandria, VA 22314
                                                                 (703) 299-3700
                                                                 (703) 299-3982 (fax)
                                                                 James.P.Gillis@,usdoi.gov ibbs@usdoi gov


             /\ii
                                                                                                            / (-71




                                                                 18
Case 1:18-cr-00457-AJT Document 354-2 Filed 07/23/19 Page 19 of 19 PageID# 4945
  Case l:18-cr-00457-AJT Document 321 Filed 07/16/19 Page 19 of 19 PagelD# 3503



                                   CERTIFICATE OF SERVICE


         I hereby certify that on July 16,2019,1 electronically filed the foregoing with the Clerk of

  the Court using the CM/ECF system, which automatically generated a Notice of Electronic Filing

  (NEF)to counsel of record.


                                       By:                /s/
                                               John T. Gibbs
                                               Assistant United States Attorneys
                                               United States Attorney's Office
                                              2100 Jamieson Avenue
                                               Alexandria, VA 22314
                                               Telephone(703)299-3700




                                                 19
